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  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

                                                  )
                                                  )      CASE NO. 5:09 CV 0827
  MICHAEL LASHAWN SPRAGLING                       )      CASE NO. 5:06 CR 0239
                                                  )
                                                  )
         Petitioner,                              )      MEMORANDUM OPINION
                                                  )
         v.                                       )
                                                  )
  UNITED STATES OF AMERICA                        )
                                                  )
         Respondent.

         Pending before the Court is Petitioner Michael Lashawn Spragling’s motion pursuant to

  U.S.C. § 2255 to vacate, set aside or correct Petitioner’s sentence of 262 months imprisonment.

  ECF 304. The United States of America opposes. ECF 308. Respondent has not replied. For

  the reasons discussed infra Petitioner’s motion is denied.

                                         I. BACKGROUND

         On May 10, 2006, a federal grand jury in Cleveland, Ohio returned an indictment

  charging Petitioner and others with various drug, firearm, and money laundering offenses.

  Specifically, Petitioner was charged with:

         Count 1: conspiracy to distribute and to possess with the intent to distribute and to
         possess with the intent to distribute 100 kilograms or more of marijuana, in violation of
         21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B);

         Count 2: conspiracy to distribute and to possess with the intent to distribute 5 kilograms
         or more of cocaine, and 1 kilogram or more of heroin, in violation of 21 U.S.C. §§ 846,
         841(a)(1) and 841(b)(1)(A);

         Count 3: engaging in a financial transaction with proceeds of a specified unlawful
         activity, in violation of 18 U.S.C. § 1956(a)(1)(A)(I); and
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         Count 4: the unlawful possession of a prohibited firearm, that is a machine gun, not
         registered to the defendant under the National Firearms Registration and Transfer
         Record, in violation 26 U.S.C. §§ 5841, 5861(d) and 5871.


         The indictment stemmed from an Organized Crime Drug Enforcement Task Force

  (OCDETF) investigation, directed by DEA-Akron. A Title III wiretap of Spragling’s Nextel

  telephone produced evidence of Petitioner’s involvement in marijuana and cocaine/heroin

  trafficking. On April 5, 2006, $104,040 in U.S. currency was retrieved from a vehicle occupied

  by Petitioner and others during a “drive-by” surveillance of the “The Spot,” the location believed

  by investigators to be a stash location for drugs and money. Thereafter, OCDETF investigators

  seized personal documents relating to Petitioner, an additional $32,000 in U.S. currency, two

  heat sealers with plastic bags, blue painter’s tape identical to that found around the money in the

  vehicle, a STEN-type machine gun and silencer, five additional firearms and ammunition, and a

  bullet proof vest.

         On October 2, 2006, Petitioner’s jury trial commenced before this Court. The following

  day (October 3, 2006), Petitioner entered guilty pleas to all four charged counts pursuant to a

  written plea agreement. (See Appendix 1, outlining ECF 132: Plea Agreement at pages 8-19).

  The written plea agreement applied a total offense level of 38. The government agreed to

  recommend a two level reduction for acceptance of responsibility to level 36. The parties agreed

  that the Court could consider the appropriateness of a three level reduction under the totality of

  the circumstances.

         At the outset of the proceedings before this Court, Petitioner was represented by

  Attorneys Robert C. Meeker and Michael B. Bowler. On November 2, 2006, Attorneys Meeker

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  and Bowler filed a Motion to withdraw as counsel after being discharged by Petitioner. On

  December 5, 2006, this Court granted the motion to withdraw, and appointed Roger K. Davidson

  as new counsel for Petitioner.

         On December 8, 2006, Petitioner filed a pro se letter/motion to withdraw his guilty pleas.

  On December 14, 2006, this Court denied Petitioner’s motion to withdraw the pleas. On

  December 19, 2006, Davidson was replaced newly retained counsel, Paul F. Adamson.

         On December 27, 2006, Petitioner’s sentencing hearing was conducted. The revised Pre-

  Sentence Report (PSR), dated December 22, 2006, contained offense level calculations

  consistent with the terms of the plea agreement, except that it did not grant Petitioner a reduction

  for acceptance of responsibility. The PSR further found Petitioner to be a criminal history II for

  total offense level of 38. The PSR indicated Petitioner’s advisory United States Sentencing

  Guidelines (U.S.S.G.) range to be 262-327 months. This Court sentenced Petitioner to 262

  months incarceration, five years of supervised release following imprisonment, and a $400

  special assessment. On January 11, 2007, Attorney Adamson filed a notice of appeal of the

  judgment entry of conviction and sentencing entered on January 2, 2007 on behalf of Petitioner.

  The Sixth Circuit Court of Appeals denied Petitioner’s appeal. See United States v. Spragling,

  279 Fed. Appx. 370, 2008 WL 2224807 (6th Cir. 2008).

         On or about April 9, 2009, Spragling filed a motion pursuant 28 U.S.C. § 2255, which

  provides:

         A prisoner in custody under sentence of a court established by Act of Congress claiming
         the right to be released upon the ground that the sentence was imposed in violation of the
         Constitution or laws of the United States, or that the court was without jurisdiction to
         impose such sentence, or that the sentence was in excess of the maximum authorized by

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          law, or is otherwise subject to collateral attack, may move the court which imposed the
          sentence to vacate, set aside or correct the sentence.

          In support of Petitioner’s motion pursuant to 28 U.S.C. § 2255, Petitioner raises three

  issues. First, Petitioner argues ineffective assistance of counsel, claiming that defense counsel

  failed to ensure that petitioner received and reviewed a copy of the PSR report in a timely

  manner. Second, Petitioner argues defense counsel failed to present credible evidence to the

  Court showing that petitioner was not part of the conspiracy that the government charged in the

  indictment. Third, Petitioner argues defense counsel failed to raise Petitioner’s sentencing issue

  on appeal, constituting ineffective assistance of counsel in violation of Petitioner’s sixth

  amendment rights.

                                      II. LAW AND ANALYSIS

          Two components must be met before granting a convicted defendant's claim that

  counsel's assistance was so defective as to require reversal of a conviction. Strickland v.

  Washington, 466 U.S. 668 (1984). “First, the defendant must show that counsel's performance

  was deficient which requires showing that counsel made errors so serious that counsel was not

  functioning as the “counsel” guaranteed to the defendant by the Sixth Amendment.” Strickland,

  466 U.S. at 687. That is, a defendant must show that counsel’s performance fell below an

  objective standard of reasonableness. Lockart v. Fretwell, 113 S. Ct. 838 (1993); accord United

  States v. Cox, 826 F.2d 1518, 1525 (6th Cir. 1987). Second, the defendant must show that the

  deficient performance prejudiced the defense. This requires showing that counsel's errors were

  so serious as to deprive the defendant of a fair trial, producing a result that is unreliable.

  Strickland v. Washington, 466 U.S. at 687.

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            In regard to the first component articulated in Strickland, scrutiny of defense counsel’s

  performance must be “highly deferential.” A reviewing court must ensure that “every effort is

  made to eliminate the distorting effects of hindsight, to reconstruct the circumstances of

  counsel’s challenged conduct, and to evaluate the conduct from counsel’s perspective at the

  time.” Id. at 689. Accordingly, there is a strong presumption that counsel’s performance falls

  “within the wide range of reasonable professional assistance.” Id. at 689; Catches v. United

  States, 582 F.2d 453 (8th Cir. 1978). Therefore, the petitioner bears the heavy burden of proving

  that his counsel’s representation was unreasonable under prevailing professional norms and that

  the challenged action was not considered strategy. Kimmelman v. Morrison, 477 U.S. 365, 381

  (1986).

            As to the second component, a “defendant must show that there is a reasonable

  probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

  been different.” Strickland, 466 U.S. at 694. Consequently, relief does not necessarily follow

  under Strickland when a defendant is able to overcome the “highly deferential” presumption of

  adequate assistance.

  1. Petitioner’s first claim presented in support of a motion pursuant to 28 U.S.C. § 2255
  fails to demonstrate that counsel's assistance was so defective as to require a reversal of his
  conviction.

            In this case, Petitioner argues ineffective assistance of counsel, claiming that defense

  counsel failed to ensure that petitioner received and reviewed a copy of the PSR report in a

  timely manner. Petitioner received a copy of his PSR on the day of sentencing. Petitioner argues

  that he did not have adequate time to review and object to the PSR, and that had more time been


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  given he could have “prepared a much more thorough and complete challenge” to the PSR’s

  inaccuracies.

         However, Petitioner fails to identify the inaccuracies, and also fails to establish they had

  any effect on his sentence. At sentencing, Petitioner affirmatively stated that he had reviewed

  the PSR. Moreover, Petitioner failed to make an objection about having inadequate time to

  review or object to material in the PSR. Nor did Petitioner attempt to make any corrections to

  the PSR.

         Petitioner fails to meet either prong of the standard articulated in Strickland. First, “the

  defendant must show that counsel's performance was deficient which requires a showing that

  counsel made errors so serious that counsel was not functioning as the “counsel” guaranteed the

  defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687. Attorney Adamson filed a

  comprehensive set of objections to the PSR, which were included in the revised PSR and

  challenged the criminal conduct attributed to Petitioner, as well as the resulting U.S.S.G.

  sentencing computation. The objections raised by Attorney Adamson in regard to the PSR fall

  “within the wide range of reasonable professional assistance.” Id. at 689; Catches, 582 F.2d at

  453.

         Even if Petitioner could establish the first prong of the standard articulated in Strickland,

  Petitioner also has the burden of satisfying the second prong of the test set forth in Strickland for

  his claim to succeed. Under the second prong, a petitioner must prove that he was prejudiced by

  the conduct of defense counsel. Here, Petitioner must prove that he was prejudiced by the

  sentencing court’s reliance on erroneous information. See, e.g., United States v. Kovic, 830 F.2d

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  680, 686 (7th Cir. 1987); Inzone v. United States, 707 F. Supp., 107, 110-111 (E.D.N.Y. 1989).

  However, Petitioner fails to demonstrate that any erroneous information was included in the

  PSR, and therefore fails to meet the second prong of the test articulated in Strickland. Therefore,

  the first issue raised by Petitioner in support of his 28 U.S.C. § 2255 motion fails to pass muster

  under the first and second prongs of the two-part test articulated in Strickland.

  2. Petitioner’s second claim presented in support of a motion pursuant to 28 U.S.C. § 2255
  fails to demonstrate that counsel's assistance was so defective as to require a reversal of his
  conviction.
           Petitioner argues that his counsel, Attorney Adamson, failed to present credible evidence

  to the Court showing that Petitioner was not part of the conspiracy charged in the indictment.

  Again, Petitioner fails to meet either prong of the standard articulated in Strickland.

           To prevail on this second claim under the first prong of Strickland, “the defendant must

  show that counsel's performance was deficient which requires a showing that counsel made

  errors so serious that counsel was not functioning as the “counsel” guaranteed the defendant by

  the Sixth Amendment.” Strickland, 466 U.S. at 687. After Petitioner admitted to the criminal

  conduct in the written plea agreement and during the plea colloquy, and this Court did not permit

  a withdrawal of the plea, there was no longer an opportunity for Attorney Adamson to present

  evidence to the court showing that petitioner was not part of the conspiracy charged in the

  indictment. A defendant “[o]rdinarily...is stuck with the representations that he makes in open

  court at the time of the plea.” United States v. Padilla-Galarza, 351 F.3d 594, 598 (1st Cir.

  2003).




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         Nevertheless, Attorney Adamson attempted to no avail on appeal to vacate the conviction

  and/or obtain a re-sentencing of Petitioner. Additionally, Attorney Adamson objected to

  paragraphs 12-24 of the PSR in which the Probation Officer summarized Petitioner’s criminal

  conduct. In regard to this second claim, the objections raised by Attorney Adamson in regard to

  the PSR and the appeal he sought were “within the wide range of reasonable professional

  assistance.” Id. at 689; Catches, 582 F.2d at 453. Therefore, Petitioner’s claim that his counsel

  was ineffective for failing “to present credible evidence to the Court showing that defendant was

  not part of the conspiracy charged in the indictment” fails to meet the first prong set forth in

  Strickland.

         The result of the proceeding could not be expected to have been different even if

  Attorney Adamson had produced more evidence to demonstrate that Petitioner was not part of

  the conspiracy charged in the indictment because the plea agreement was voluntarily given and

  with no other infirmity. (See Appendix 1, outlining ECF 132: Plea Agreement at pages 8-19).

  Therefore, Petitioner fails to meet the second prong of the test articulated in Strickland and his

  second claim fails.

  3. Petitioner’s third claim presented in support of a motion pursuant to 28 U.S.C. § 2255
  fails to demonstrate that counsel's assistance was so defective as to require a reversal of his
  conviction.


         Petitioner argues that defense counsel’s failure to raise petitioner’s sentencing issue on

  appeal constitutes ineffective assistance of counsel in violation of Petitioner’s Sixth Amendment

  Rights. Petitioner argues that Amendment 709 to U.S.S.G. § 4A1.2, effective November 1,

  2007, removed his 2003 conviction for non-support of dependents from the classification of

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  offenses for which a “criminal history point” could be assessed. Petitioner argues that as a result

  of this amendment, the two points assessed under U.S.S.G. § 4A1.1 for committing the instant

  offense while under a criminal sentence (probation) should be eliminated. Consequently,

  Petitioner claims that had counsel appealed this issue, it would have resulted in making him a

  Criminal History Category I (235-293 months) instead of Criminal Category II (262-327

  months).

         To satisfy the first prong of the test set forth in Strickland, a petitioner must prove that he

  was prejudiced by the conduct of defense counsel. That is, in order to be entitled to relief, a

  “defendant must show that there is a reasonable probability that, but for counsel’s unprofessional

  errors, the result of the proceeding would have been different.” Strickland, 466 U.S. at 694.

         In regard to this third claim, Attorney Adamson has made no such errors. The

  amendment to U.S.S.G. § 4A1.2 went into effect after Petitioner’s sentencing. Although the

  amendment went into effect during the pendency of Petitioner’s appeal, it was not made

  retroactive. Moreover, Amendment 709 only affects “some misdemeanor and petty offenses,”

  not Petitioner’s fifth degree felony non-support conviction. Therefore, Attorney Adamson was

  not professionally deficient in failing to raise this issue on appeal. See generally Wilson v.

  McMacken, 786 F.2d 216, 219 (6th Cir. 1986).

         Because Amendment 709 is not retroactive, Petitioner’s claim fails to satisfy the second

  prong of Strickland because he cannot “show that there is a reasonable probability that, but for

  counsel’s unprofessional errors, the result of the proceeding would have been different.”

  Strickland, 466 U.S. at 694.

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          Yet, Attorney Adamson did assert several viable arguments on appeal which would have

   resulted in a reduced sentence for Petitioner had he prevailed. Attorney Adamson’s arguments

   were the following: (1) the trial court erred in determining the applicable guideline range at

   sentence by failing to award a reduction for Petitioner’s Acceptance of Responsibility; and (2)

   the sentence imposed by the trial court was unreasonable and greater than necessary to comply

   with the purposes set forth in Title 18 U.S.C. § 3553 (a). Although rejected by the Sixth Circuit,

   the arguments made by Attorney Adamson fall “within the wide range of reasonable professional

   assistance.” Id. at 689; Catches, 582 F.2d at 453. Therefore, Petitioner does not meet the burden

   of proving that his counsel’s representation was unreasonable under prevailing professional

   norms. Kimmelman, 477 U.S. at 381. Nor does Petitioner demonstrate that but for the alleged

   unprofessional error, the result of the proceeding would have been different.

                                          III. CONCLUSION

          Petitioner’s three claims supporting his 28 U.S.C. § 2255 motion to vacate, set aside or

   correct his 262 month prison sentence fail to satisfy the two-part test articulated in Strickland.

   First, Petitioner has failed to prove that counsel's performance was deficient and that counsel

   made errors so serious that counsel was not functioning as the “counsel” guaranteed the

   defendant by the Sixth Amendment. Strickland, 466 U.S. at 668. Second, at no point in

   Petitioner’s three claims is it demonstrated that counsel's errors were so serious as to deprive the

   defendant of a fair trial, producing a result that is unreliable. Id. Therefore, Petitioner’s motion

   pursuant to 28 U.S.C. § 2255 is denied.




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          The Clerk is directed to mail a copy of this Memorandum Opinion and Judgment Entry to

   the Petitioner at his address of record.

   IT IS SO ORDERED.



   06/22/09                                     s/ David D. Dowd, Jr.
   Date                                       David D. Dowd, Jr.
                                              U.S. District Judge




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